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                                  UNITED STATES OF AMERICA
                                 FEDERAL TRADE COMMISSION
                                   WASHINGTON, D.C. 20580




   Nathan Brenner
Bureau of Competition

                                                                      May 30, 2023
 By CM/ECF

 The Honorable John F. Kness
 United States District Court Judge
 Everett McKinley Dirksen United States Courthouse
 219 South Dearborn Street
 Chicago, Illinois 60604

 Dear Judge Kness,

           Plaintiff Federal Trade Commission (“FTC”) respectfully requests that the Court enter

 the Proposed Case Management Order. See Exhibit A. The parties have worked in good faith to

 agree on nearly every term in the proposed order with the exception of three key dates: (1) the

 close of fact discovery; (2) the FTC’s opening brief; and (3) the FTC’s opening expert report(s).

 The FTC proposes a schedule that will fairly and efficiently move this important matter to an

 evidentiary hearing while ensuring sufficient time for discovery and briefing.

           The FTC filed its complaint on May 16, 2023 and the parties agreed to a proposed case

 management order on May 22, 2023. Underlying that agreement was the parties’ explicit

 assumption that the Court would have availability to schedule a planned evidentiary hearing in

 mid-August 2023. See Joint Motion for Entry of Case Management Order, Dkt. No. 42. Due to

 the incredibly accelerated timeframe, with an evidentiary hearing only three months after filing

 its complaint, the FTC was willing to agree to a truncated and highly unusual briefing schedule:

 the schedule would have required the FTC to submit its initial expert report(s) and brief prior to

 the close of fact discovery.




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        On May 23, the Court scheduled an evidentiary hearing for September 11, 2023. With

four weeks added to the parties’ contemplated schedule, it is in the interest of the parties and the

Court to establish a schedule that allots adequate time to both the FTC and Defendants for fact

discovery and subsequent expert reports and briefing.

   I.      THE FTC PROPOSES A FAST-PACED, BALANCED SCHEDULE
        The FTC’s proposed schedule provides all parties the ability to conduct effective

discovery and, only once discovery is complete, present the evidence developed through briefs

and expert reports. Though the FTC initially offered to proceed on the papers alone, Defendants

requested robust fact discovery in advance of an evidentiary hearing. The FTC’s proposed

schedule follows standard litigation and briefing practice: first the parties conduct fact discovery,

then the parties exchange briefs and/or expert reports. To maximize time for fact discovery, the

FTC’s proposed schedule contemplates that after the close of fact discovery on July 26, the FTC

would have only two days to submit its initial brief and expert report(s). Defendants would then

have over three weeks to submit their opposition. The FTC’s request is simple—if Defendants

have the benefit of fact discovery, the FTC should have the same opportunity.

        Defendants’ proposed schedule turns the notion of a discovery period on its head,

requiring the FTC to submit its opening brief and expert report(s) 33 days before discovery is

complete. Defendants’ proposal would substantially prejudice the FTC’s ability to incorporate all

relevant discovery into its initial brief and expert report(s). Among FTC proceedings seeking

preliminary injunctions, Defendants’ proposed schedule would be highly unusual if not entirely

unprecedented. For example, in a comparable merger challenge in the Norther District of Illinois,

the FTC’s opening brief and expert report(s) were due on the same day fact discovery closed.

FTC v. Advocate Health Care Network, No. 15-cv-11473 (N.D. Ill. Jan. 12, 2016), ECF No. 39.

Myriad recent case management orders provided similar sequencing, with the FTC’s opening



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brief and expert report(s) due no earlier than the close of fact discovery. See, e.g., FTC v.

Intercontinental Exchange, Inc., No. 23-cv-01710 (N.D. Cal. May 16, 2023), ECF No. 94; FTC

v. Hackensack Meridian Health, Inc., No. 20-cv-18140 (D.N.J. Jan. 8, 2021), ECF No. 61; FTC

v. Peabody Energy Corp., No. 20-cv-00317 (E.D. Mo. April 9, 2020), ECF No. 118; FTC v.

Thomas Jefferson University, No. 20-cv-01113 (E.D. Pa. Apr. 17, 2020), ECF No. 54; FTC v.

RAG-Stiftung, No. 19-cv-02337 (D.D.C. Aug. 12, 2019), ECF No. 21; FTC v. Wilh. Wilhemsen

Holding ASA, No. 18-cv-00414 (D.D.C. Mar. 15, 2018), ECF No. 21; FTC v. Sanford Health,

No. 17-cv-00133 (D.N.D. Aug. 1, 2017), ECF No. 50;. The only known recent exception to this

principle is FTC v. Meta Platforms, Inc., No. 22-cv-04325, where both the FTC and the

defendants submitted their opening briefs and expert reports before fact discovery closed.

   II.      DEFENDANTS CANNOT JUSTIFY DIVERGING FROM STANDARD
            DISCOVERY PRACTICES
         No circumstances support Defendants’ proposed schedule. Defendants have known the

scope and contours of the FTC’s case since at least January 2023, when the FTC issued

documentary requests as part of its merger review process. Further, throughout the FTC’s

investigation, staff routinely shared with Defendants the FTC’s developing view of the relevant

markets and the proposed merger’s potential anticompetitive effects. Defendants cannot claim

surprise, having previously submitted advocacy to the FTC attempting to address the very

concerns alleged in the FTC’s complaint. Defendants even had an opportunity to brief the FTC’s

Chair and Commissioners on those very same issues. Defendants also had access to the vast

majority of the FTC’s investigative file long before the FTC even received these materials.

Approximately 80% of documents in the FTC’s investigative file consist of Defendants’ own

documents. Now that the start of the evidentiary hearing has been moved back to mid-

September, there are no unusual circumstances that would warrant submission of the FTC’s




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opening brief and expert report(s) over a month before the close of fact discovery.

          If anything is unique about this matter, it is the speed with which the FTC was forced to

conduct and complete its investigation. Public reporting shows that the average “significant

[merger] investigation[]” in 2022 lasted approximately 11.8 months. See DAMITT 2022 Annual

Report, Dechert LLP (Jan. 23, 2023), https://tinyurl.com/527en5v7. Defendants rushed through

the merger review process, threatening to close their transaction only 4.5 months after formally

filing with the FTC their intent to merge. Accordingly, though the FTC seeks only a standard

scheduling order, it would be justified in requesting additional time for fact discovery given the

rapid pace in which it was required to review and assess the proposed transaction initially.

   III.      ALTERNATIVE SCHEDULES ARE PREFERABLE TO DEFENANTS’
             PROPOSAL

          Although the FTC’s proposed schedule is reasonable and fair, the FTC has also presented

Defendants with an alternative proposed schedule in the interest of seeking a compromise. To

address Defendants’ request to view even more of the FTC’s underlying allegations than were

already shared during the investigation and in its Complaint, the FTC offered to submit its

opening brief well before the close of fact discovery. The FTC’s opening expert report(s) would

then be due only two days after the close of fact discovery. See Exhibit B.

          Defendants’ proposal purports to draw from the parties’ prior agreement, but it does so

without justification. The prior agreement is not relevant now that the parties and the Court have

four additional weeks to work with. The FTC agreed to the prior proposal, and the structure of

filing its brief and expert report(s) before the close of fact discovery, only because it was

otherwise impossible to construct a reasonable briefing and report schedule under such a

truncated timeframe. With additional time, there is no longer any need to forgo the standard

discovery and briefing process described above.




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       Even so, if the Court is inclined to extend the deadlines from the parties’ prior agreement,

the FTC respectfully requests that it push each deadline back uniformly, either three or four

weeks, with a small amount of additional time, distributed equally, for the Defendants’

opposition briefs and expert report(s), as well as for the FTC’s reply brief and expert report(s).

                                              *       *      *

       The FTC’s proposed schedule provides all parties with a meaningful and equal

opportunity to conduct fact discovery before briefs and expert report(s) are due. Accordingly, the

FTC respectfully requests that the Court enter the FTC’s proposed scheduling order reflected in

Exhibit A. In the alternative, the FTC proposes the schedule reflected in Exhibit B, or if the

Court is inclined, to extend uniformly the disputed deadlines from the parties’ prior agreement.


                                              Respectfully submitted,

                                              /s/ Nathan Brenner
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